                Case 3:21-md-02981-JD Document 831-1 Filed 12/01/23 Page 1 of 2
                                      UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF CALIFORNIA

Case:   3:20-cv-05671-JD Epic Games, Inc. v. Google LLC et al
        21-md-02981-JD In re Google Play Store Antitrust Litigation

                                          EXHIBIT and WITNESS LIST

 JUDGE:                                    PLAINTIFF’S ATTORNEY:             DEFENSE ATTORNEY:
 Hon. James Donato                         Lauren Moskowitz,                 Lauren Bell, Jonathan Kravis,
                                           Yonatan Even, Gary Bornstein,     Michelle Chiu, Brian Rocca,
                                           Brent Byars, Andrew Wiktor,       Kuru Olasa, Kyle Mach,
                                           Tim Cameron                       Leigha Beckman, Justin Raphael,
                                                                             Glenn Pomerantz
 JURY TRIAL DATE:                          REPORTER(S):                      CLERK:
 12/1/23                                   Kelly Shainline                   Lisa R. Clark

 PLF    DEF      TIME
 NO.    NO.      OFFERED ID REC DESCRIPTION                                                             BY
                 9:08 am        Court in session; all parties and jury present
                                             Defendants call Carson Oliver -- direct examination.
        6836                    X    X       Email from J. Nunes to C. Oliver                           LRC
        6853                    X    X       Email from C. Oliver to J. Ng                              LRC
        9900                    X    X       No description provided                                    LRC
        6848                    X    X       Email from D. Hopkins to C. Oliver                         LRC
        6839                    X    X       Email from A. Rofman to C. Oliver                          LRC
        6849                    X    X       Email from R. Olson to J. Goodrum                          LRC
        6840                    X    X       Email from N. Sebastiani to C. Oliver                      LRC
                                             Undated webpage titled "The apps you love. From a place
        6691                    X    X       you can trust." available at: https://www.apple.com/app-   LRC
                                             store/
                 9:38 am                     Cross-examination of Carson Oliver
                                             Witness shown exhibits 6836, 6853, 6849, 6839
 6845                           X    X       Email from M. Fischer to S. McGuigan                       LRC
                 9:54 am                     Re-direct of Carson Oliver
                 9:55 am                     Defendants play video deposition of Randy Gelber
                                             Spreadsheet dated 12/31/2021 titled "Epic Games Non-
        10692                   X    X                                                                  LRC
                                             GAAP Consolidated Financials"
                                             Spreadsheet titled, "Epic Games, Detailed Consolidated
        10694                   X    X                                                                  LRC
                                             P&L (Overhaul & Non-GAAP)" (2/2/2021)
        10708                   X    X       9/30/2020 email from R. Gelber to D. Wallerstein           LRC
                                             Defendants call Gregory Leonard, PhD -- direct
                 10:06 am
                                             examination
                                             Witness accepted as an expert in damages
               Case 3:21-md-02981-JD Document 831-1 Filed 12/01/23 Page 2 of 2

PLF    DEF     TIME
NO.    NO.     OFFERED ID REC DESCRIPTION                                                          BY
                              Witness shown demonstrative
       9500               X   X     Demonstrative                                                  LRC
               10:13 am             Cross-examination of Gregory Leonard, PhD
               10:14 am             Defendants play video depo of Asi Burak
       11373              X   X     Slide deck                                                     LRC
               10:36 pm             Court in recess
               10:54 am             Court in session; all parties and jury present.
                                    Video deposition of Robert Beaty.
               11:13 am             Defendants call Mrinalini Loew -- direct examination
                                    Witness shown demonstrative
                                    Undated presentation titled "Google Play Billing Partner
       6229               X
                                    Benefits"
       6178               X   X     Presentation titled "Google Play Q3 '21 Onboarding"            LRC
       5                            Demonstrative exhibit
                                    Witness shown exhibit 8028
               11:49 am             Cross-examination of Mrinalini Loew
8594                      X   X     No description provided                                        LRC
1710                      X   X     No description provided                                        LRC
               12:11 pm             Re-direct of Mrinalini Loew
               12:12 pm             Jury in recess
               12:13 pm             Court questions witness
               12:15 pm             Court in recess.
               12:57 pm             Court in session; all parties and jury present.
                                    Plaintiff calls Douglas Bernheim, PhdD -- direct
                                    examination.
               1:32 pm              Cross-examination of Douglas Bernheim, PhD
               1:47 pm              Re-direct of Douglas Bernheim, PhD
               1:49 pm              Plaintiff rests. Defendants rest. Court in recess.
                                    Defendants move under Rule 50(a) for judgment as a matter
               2:22 pm              of law. Court denies motion, subject to renewal under
                                    Rule 50(b).
               2:45 pm              Court holds charge conference to finalize jury instructions.
               3:53 pm              Court in recess.




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